                                                                                                                     State Court of Fulton County
                      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 1 of 79                                                  **E-FILED**
                                                        Exhibit "A"                                                                   21EV006116
GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE     10/11/2021 11:55 AM
                                                                                                                       Christopher G. Scott, Clerk
                                                                                                                                     Civil Division
STATE COURT OF FULTON COUNTY                                              CIVIL ACTION FILE #: ___________________________
                 Civil Division



                                                                            TYPE OF SUIT                               AMOUNT OF SUIT
Melissa Bartolomei, as Surviving Child
_____________________________________                                         [ ] ACCOUNT                   PRINCIPAL $_____________
_____________________________________
of Theresa Jarboe-Bartolomei, deceased,                                       [ ] CONTRACT
                                                                              [ ] NOTE                      INTEREST $______________
et.al.
_____________________________________                                         [ ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [X] PERSONAL INJURY          ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                         vs.                                                  [ ] TROVER                   COURT COST $ ___________
                                                                              [ ] SPECIAL LIEN
                                                                                                   ************
_____________________________________
Retiree Housing Management Inc.c/o CT Corporation System
                                                                              [X] NEW FILING
289 South Culver Street
_____________________________________                                         [ ] RE-FILING: PREVIOUS CASE NO. ___________________

Lawrenceville, Georgia 30046
_____________________________________
Defendant’s Name, Address, City, State, Zip Code

             SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
      Brandyn L. Randall
Name: ______________________________________________
         P.O. Box 57007
Address: ____________________________________________
                       Atlanta, Georgia 30343
City, State, Zip Code: __________________________________________________                              404-865-8811
                                                                                             Phone No.:___________________________
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                            Christopher G. Scott, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                               DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                         (STAPLE TO FRONT OF COMPLAINT)
                                                                                                                     State Court of Fulton County
                      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 2 of 79                                                  **E-FILED**
                                                                                                                                      21EV006116
GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE     10/11/2021 11:55 AM
                                                                                                                       Christopher G. Scott, Clerk
                                                                                                                                     Civil Division
STATE COURT OF FULTON COUNTY                                              CIVIL ACTION FILE #: ___________________________
                 Civil Division



                                                                            TYPE OF SUIT                               AMOUNT OF SUIT
_____________________________________
Melissa Bartolomei, as Surviving Child
                                                                              [ ] ACCOUNT                   PRINCIPAL $_____________
_____________________________________
of Theresa Jarboe-Bartolomei, deceased,                                       [ ] CONTRACT
                                                                              [ ] NOTE                      INTEREST $______________
_____________________________________
et.al.
                                                                              [ ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [X] PERSONAL INJURY          ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                         vs.                                                  [ ] TROVER                   COURT COST $ ___________
                                                                              [ ] SPECIAL LIEN
                                                                                                   ************
_____________________________________
Retiree Housing Management Inc.c/o CT Corporation System
                                                                              [X] NEW FILING
_____________________________________
289 South Culver Street                                                       [ ] RE-FILING: PREVIOUS CASE NO. ___________________

Lawrenceville, Georgia 30046
_____________________________________
Defendant’s Name, Address, City, State, Zip Code

             SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
Name: ______________________________________________
       Brandyn L. Randall
         P.O. Box 57007
Address: ____________________________________________
                       Atlanta, Georgia 30343
City, State, Zip Code: __________________________________________________                              404-865-8811
                                                                                             Phone No.:___________________________
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                            Christopher G. Scott, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                               DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                         (STAPLE TO FRONT OF COMPLAINT)
                                                                                 State Court of Fulton County
        Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 3 of 79                            **E-FILED**
                                                                                                  21EV006116
                                                                                         10/11/2021 11:36 AM
                                                                                  Christopher G. Scott, Clerk
                                                                                                 Civil Division
                      IN THE STATE COURT OF FULTON COUNTY
                                STATE OF GEORGIA

 MELISSA BARTOLOMEI, as Surviving Child              )
 of THERESA JARBOE-BARTOLOMEI,                       )
 deceased; and MELISSA BARTOLOMEI,                   )
 as Administrator of the Estate of                   )
 THERESA JARBOE-BARTOLOMEI,                          )
 deceased,                                           )
                                                     )
                  Plaintiff,                         )    CIVIL ACTION FILE NO.:
                                                     )
 vs.                                                 )
                                                     )
 RETIREE HOUSING OF ATLANTA, INC.                    )    JURY TRIAL DEMANDED
 f/k/a TEAMSTER RETIREE HOUSING OF                   )
 ATLANTA, INC.; RETIREE HOUSING                      )
 MANAGEMENT, INC.; JOHN DOES 1 – 2;                  )
 and XYZ CORPORATIONS 1 – 3,                         )
                                                     )
                 Defendants.                         )

                   COMPLAINT AND DEMAND FOR TRIAL BY JURY

       Plaintiff, Melissa Bartolomei, as Surviving Child of Theresa Jarboe-Bartolomei, deceased

and Melissa Bartolomei, as Administrator of the Estate of Theresa Jarboe-Bartolomei, deceased,

files this Complaint and Demand for Trial by Jury against Defendants Retiree Housing of Atlanta,

Inc. f/k/a Teamster Retiree Housing of Atlanta, Inc., Retiree Housing Management, Inc., John

Does 1 – 2 and XYZ Corporations 1 – 3 as follows, respectfully demands a trial by jury and alleges

the following:

                         PARTIES AND JURISDICTION & VENUE

                                                1.

       Plaintiff’s decedent, Theresa Jarboe-Bartolomei, died on November 1, 2019. At the time

of her death, Plaintiff’s decedent, Theresa Jarboe-Bartolomei, was not survived by a spouse.

Plaintiff Melissa Bartolomei is the surviving daughter of Theresa Jarboe-Bartolomei,

and in this capacity brings this action under the Georgia Wrongful Death Act.
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                                                 2.

       Melissa     Bartolomeiwas      was    appointed     Administrator     of   the    Estate   of

Theresa Jarboe-Bartolomei by the Probate Court of Fulton County, Georgia on October 6, 2020;

and in this capacity, she brings this action on behalf of her mother’s estate.

                                                 3.

       Defendant Retiree Housing of Atlanta, Inc. f/k/a Teamster Retiree Housing of Atlanta, Inc.,

is a foreign non-profit corporation organized under the laws of and authorized to do business in

the State of Georgia. Defendant Retiree Housing of Atlanta, Inc., may be served through its

registered agent for service, C T Corporation System at 289 South Culver Street, Lawrenceville,

Gwinnett County, Georgia 30046-4805, or otherwise as allowed by law.

                                                 4.

       Defendant Retiree Housing Management, Inc., is a foreign non-profit corporation

organized under the laws of and authorized to do business in the State of Georgia.

Defendant Retiree Housing Management, Inc., may be served through its registered agent for

service, C T Corporation System at 289 South Culver Street, Lawrenceville, Gwinnett County,

Georgia 30046-4805, or otherwise as allowed by law.

                                                 5.

       Defendant John Doe 1 is a resident of Georgia and is the unidentified manager of

Defendants’ business establishment at the time of the alleged incident at issue in this case.

Defendant John Doe 1 had the authority and right to control the mode and manner of operations

of Atlanta Handicap Manor, Defendants’ business located at 450 Fairburn Road, SW, Atlanta, GA

30331, on the date of incident and at all relevant times and as such is a joint tortfeasor. Defendant

John Doe 1’s authority and control over operations included, but was not limited to, control over



                                                                                                   2
        Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 5 of 79




the manner in which safety procedures and protocols were implemented and enforced. The legal

name of Defendant John Doe 1 is known by Defendants. When Defendant John Doe 1 is identified

by Defendants, Plaintiff will timely amend her pleading and cause a Summons and Complaint to

be properly served.

                                                6.

       Defendant John Doe 2 is a resident of Georgia and an unidentified individual who either

owned, managed, operated, maintained, serviced, cleaned, secured, or repaired some aspect of

Atlanta Handicap Manor, Defendants’ business establishment located at 450 Fairburn Road, SW,

Atlanta, GA 30331. Defendant John Doe 2’s action and inactions directly contributed to the

negligence that injured Plaintiff in the incident at issue in this case. As such Defendant John Doe

2 is a joint tortfeasor. The legal name of Defendant John Doe 2 is known by Defendants. When

Defendant John Doe 2 is identified by Defendants, Plaintiff will timely amend her pleading and

cause a Summons and Complaint to be properly served.

                                                7.

       Defendants XYZ Corporations 1-3 are unidentified business entities are potential, third-

party, joint tortfeasors. Defendants XYZ Corporations 1-3 are business entities which owned,

managed, operated, maintained, serviced, cleaned, secured, or repaired some aspect of Atlanta

Handicap Manor, Defendants’ business located at 450 Fairburn Road, SW, Atlanta, GA 30331,

and may have contributed to the negligence that injured Plaintiff. when these Defendants’ names

have been ascertained, Plaintiff will amend the Complaint and cause a Summons and Complaint

to be properly served.

                                                8.

       Pursuant to Article VI, § II, ¶ VI of the Georgia Constitution, and O.C.G.A § 14-2-510,



                                                                                                 3
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venue is proper because the cause of action originated in Fulton County, Georgia. Defendants are

joint tortfeasors, and subject to the jurisdiction and venue of this Court.

                                     STATEMENT OF FACTS

                                                  9.

       On or about October 11, 2019 (the “date of the incident”), Theresa Jarboe-Bartolomei was an

invitee and resident of Atlanta Handicap Manor, Defendants’ business establishment located at 450

Fairburn Road, S.W., Atlanta, Fulton County, Georgia 30331 (the “Premises”).

                                                 10.

       On the date of incident, the decedent slipped and fell near the mailboxes and security desk

after Defendant John Doe 2, an employee or agent of Defendants, created a wet spot on the floor and

failed to make the area safe, or warn about the condition in the area before the decedent’s fall.

                                                 11.

       At all relevant times, Plaintiff exercised reasonable care for her own safety.

                                                 12.

       At all times material, including but not limited to the date of incident, Defendants owned,

controlled, managed, operated, maintained, or serviced the Premises.

                                     ACTIVE NEGLIGENCE

                                                 13.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 12 above,

as if they were restated herein verbatim.

                                                 14.

       At all material times, Defendants controlled the mode, manner, and means by which they

operated Atlanta Handicap Manor. Under Defendants’ mode, manner, and means of operating its



                                                                                                    4
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business, fall risks were reasonably foreseeable.

                                                   15.

        Defendants’ chosen mode and manner of operation of Atlanta Handicap Manor required

that Defendants implement safety procedures to mitigate or eliminate foreseeable risks of falls and

resulting injuries.

                                                   16.

        At all material times, Defendants owed certain civil duties to Theresa Jarboe-Bartolomei,

including the duty to exercise reasonable and ordinary care to guard against foreseeable risks of

harm caused by Defendants’ mode, manner, and means of operating Atlanta Handicap Manor.

                                                   17.

        At all material times, Defendants had a duty to develop, implement, maintain, comply with,

and enforce a safety program or appropriate safety measures, including adequate inspection

procedures, to protect residents and other invitees from the foreseeable risks of harm, including

fall risks arising from the operation of Atlanta Handicap Manor.

                                                   18.

        Defendants breached their duty to Theresa Jarboe-Bartolomei by negligently failing to

exercise reasonable care to protect her from foreseeable risks of harm.

                                                   19.

        While operating Atlanta Handicap Manor, Defendants negligently failed to exercise

reasonable care to protect Theresa Jarboe-Bartolomei from foreseeable risks of harm in one or more

of the following ways:

        (i)           Defendants failed to maintain a safety protocol to protect residents and invitees

                      from the foreseeable risk of injuries caused by a slip and fall;



                                                                                                     5
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        (ii)        Defendants’ safety program was inadequate to protect residents and invitees

                    from the foreseeable risk of injuries caused by a slip and fall;

        (iii)       Defendants negligently failed to comply with and enforce its inspection

                    protocols or procedures;

        (iv)        Defendants negligently failed to train their employees, contractors, agents

                    and/or representatives to properly implement their safety program;

        (v)         Defendants failed to supervise their employees, contractors, agents and/or

                    representatives to ensure compliance with their safety program; and/or

        (vi)        Defendants failed to warn Theresa Jarboe-Bartolomei of the inherent and

                    foreseeable risk of falls and injuries arising from Defendants’ chosen mode,

                    manner, and means of operating its business.

                                                 20.

        Defendants’ failure to exercise reasonable care in their operations of Atlanta Handicap

Manor caused water to be on the floor which created a fall risk and caused Theresa Jarboe-

Bartolomei’s fall, resulting injuries and subsequent death.

                                                 21.

        Defendants’ negligent operation of Atlanta Handicap Manor directly and proximately

caused Plaintiff’s injuries.

                                                 22.

        Defendants are vicariously liable for the negligent acts and omissions of their employees,

contractors, agents, servants, and representatives, committed during the course and scope of their

employment or control and in furtherance of Defendants’ business. Defendants’ employees,

contractors, agents, and representatives include, but are not limited to, Defendants John Does 1-2.



                                                                                                 6
         Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 9 of 79




                                      PREMISES LIABILITY

                                                 23.

        Plaintiff realleges and incorporates herein by reference paragraphs 1 through 12 above,

as if they were restated herein verbatim.

                                                 24.

        At all material times, Defendants owned, occupied and were otherwise in possession and

control of the Premises.

                                                  25.

        At all times material, Defendants owed Theresa Jarboe-Bartolomei a duty to exercise

ordinary care to maintain the Premises and its approaches in reasonably safe condition and to keep

it in good repair.

                                                  26.

        Defendants’ duty of care included:

        (i)          Inspecting the Premises for hazardous conditions including static conditions

                     and passive defects that posed a slip hazard or risk;

        (ii)         Detecting, removing or otherwise remedying hazardous conditions on the

                     Premises floor that posed a slip hazard or risk; and

        (iii)        Adequately warning invitees about specific hazards on the Premises, including

                     slip hazards on the floor, to enable invitees to avoid harm.

                                                  27.

        At all material times, Plaintiff was Defendants’ invitee.

                                                  28.

        On the date of incident, Plaintiff slipped on water on the floor of the Premises.



                                                                                                7
       Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 10 of 79




                                                29.

       The water that caused Plaintiff’s fall was on the floor of the Premises for a sufficient length

of time that Defendants knew, or should have known, about the substance on the floor and the

hazardous condition it created. The significant amount of time the water was on the floor afforded

Defendants the opportunity to remove the hazard and/or warn invitees of the dangerous condition

the water created.

                                                30.

       Defendants had notice of the water on the floor and controlled the condition of the

Premises. Thus, Defendants and their employees, contractors, agents and representatives had a

duty to remove the water from the Premises floor or warn residents and invitees including Theresa

Jarboe-Bartolomei of the hazard because it posed an unreadable risk of harm to the safety of all

residents and guests.

                                                31.

       At all relevant times, Defendants breached their duty by failing to inspect the premises;

failing to remove the water from the Premises floor; and failing to warn residents and other invitees

including Theresa Jarboe-Bartolomei of the specific hazard.

                                                32.

       As a direct and proximate result of Defendants’ negligent failure to remove, remedy,

otherwise remedy or warn residents and invitees about the known hazard, Theresa Jarboe-

Bartolomei slipped on the water on the floor; suffered serious physical injuries to her body which

caused physical, emotional and mental pain and suffering, as well as disfigurement, disability and

impairment; and subsequently died.




                                                                                                    8
       Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 11 of 79




                                               33.

       The    hazardous    condition     was   not   known   to   and   was   unappreciated    by

Theresa Jarboe-Bartolomei.

                                               34.

       As a direct and proximate result of Defendants’ negligence, Theresa Jarboe-Bartolomei

incurred medical bills in excess of $77,558.31.

                                       WRONGFUL DEATH

                                               35.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 35 above,

as if they were restated herein verbatim.

                                               36.

       Theresa Jarboe-Bartolomei died on November 1, 2019 as a direct and proximate result of

the injuries caused by Defendants’ negligent acts and omissions described in this Complaint.

                                               37.

       Wherefore, Plaintiff Melissa Bartolomei, as surviving child of Theresa Jarboe-Bartolomei,

is entitled to compensatory damages for the full value of the life of Theresa Jarboe-Bartolomei

under Georgia’s wrongful death statutes.

                                  ESTATE’S TORT CLAIMS

                                               38.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 37 above as

if they were restated herein verbatim.

                                               39.

       Plaintiff Melissa Bartolomei is the Administrator of the Estate of Theresa Jarboe-

Bartolomei, and she brings these claims in that capacity.

                                                                                               9
       Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 12 of 79




                                               40.

       As set out above, Theresa Jarboe-Bartolomei sustained grievous injuries, pain, suffering,

and death as a direct result of Defendants’ acts and omissions which constitute violations of

federal and state law, professional negligence, general negligence, and negligence per se.

                                               41.

        As a result of the Defendants’ wrongful conduct, Theresa Jarboe-Bartolomei incurred

medical expenses and related expenses for her care, treatment and services prior to her death.

Theresa Jarboe-Bartolomei also endured untold pain and suffering as a result of Defendants’

negligent acts and omissions prior to her death. is entitled to recover all damages to which Theresa

Jarboe-Bartolomei would have been entitled had she survived.

                                               42.

       Based on the foregoing, in her capacity as the Administrator of the Estate of Theresa Jarboe-

Bartolomei, Plaintiff Melissa Bartolomei is entitled to recover from Defendants damages equal to

all expenses incurred in the provision of medical care and treatment to Theresa Jarboe-Bartolomei

resulting from the Defendant’s wrongful conduct. The Plaintiff is also entitled to recover damages

for Theresa Jarboe-Bartolomei’s conscious pain and suffering prior to his death.

                                    PRAYER FOR RELIEF

       WHEREFORE Plaintiff prays:

       A.      That Process and Summons issue, as provided by law, requiring all defendants to

               appear and answer Plaintiff’s Complaint;

       B.      That service be had upon all defendants as provided by law;

       C.      That Plaintiff be granted a trial by jury of twelve persons as to all issues;




                                                                                                 10
Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 13 of 79




D.     That the Court award and enter a judgment in favor of Plaintiff and against

       Defendants for compensatory damages in such amounts in excess of

       Ten Thousand Dollars ($10,000.00) as will fully compensate:

       (a)    Plaintiff Melissa Bartolomei, as Administrator of the Estate of

              Theresa Jarboe-Bartolomei for all of her personal injuries, pain and

              suffering, medical expenses, burial expenses and other damages allowed by

              law; and

       (b)    Plaintiff Melissa Bartolomei as Surviving Child of Theresa Jarboe-

              Bartolomei for the full value of her life; and,

E.     That Plaintiff have such further relief as the court may deem just and proper.


This 11th day of October, 2021.


                                             MORGAN & MORGAN ATLANTA, PLLC



                                             /s/   Brandyn L. Randall
                                             BRANDYN L. RANDALL
                                             BRandall@ForThePeople.com
                                             Georgia State Bar No.: 627408
                                             Post Office Box 57007
                                             Atlanta, GA 30343-1007
                                             404-965-8811 (Telephone)
                                             404-965-8812 (Fax)

                                             Attorney for Plaintiff




                                                                                        11
                                                                                                    State Court of Fulton County
                    Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 14 of 79                                  **E-FILED**
                                                                                                                     21EV006116
                             General Civil and Domestic Relations Case Filing Information Form              10/11/2021 11:36 AM
                                                                                                     Christopher G. Scott, Clerk
                                                                                                                    Civil Division
                               ‫ ܆‬Superior or ‫ ܆‬State Court of ______________________________
                                                       ■      Fulton                         County

        For Clerk Use Only

        Date Filed _________________________                                Case Number _________________________
                        MM-DD-YYYY

Plaintiff(s)                                                                   Defendant(s)
__________________________________________________
Bartolomei Melissaa                                                            __________________________________________________
                                                                               Retiree Housing of Atlanta, Inc.
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
__________________________________________________                             __________________________________________________
                                                                               Retiree Housing Management, Inc.
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
__________________________________________________                             __________________________________________________
                                                                               John Does 1-2
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix
__________________________________________________                             __________________________________________________
                                                                               XYZ Corporation 1-3
Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix   Prefix

Plaintiff’s Attorney ________________________________________
                     Brandyn L. Randall                                            Bar Number __________________
                                                                                              627408                     Self-Represented ‫܆‬

                                                           Check One Case Type in One Box

        General Civil Cases                                                             Domestic Relations Cases
        ‫܆‬           Automobile Tort                                                     ‫܆‬            Adoption
        ‫܆‬           Civil Appeal                                                        ‫܆‬            Dissolution/Divorce/Separate
        ‫܆‬           Contract                                                                         Maintenance
        ‫܆‬           Garnishment                                                         ‫܆‬            Family Violence Petition
        ‫܆‬           General Tort                                                        ‫܆‬            Paternity/Legitimation
        ‫܆‬           Habeas Corpus                                                       ‫܆‬            Support – IV-D
        ‫܆‬           Injunction/Mandamus/Other Writ                                      ‫܆‬            Support – Private (non-IV-D)
        ‫܆‬           Landlord/Tenant                                                     ‫܆‬            Other Domestic Relations
        ‫܆‬           Medical Malpractice Tort
        ‫܆‬           Product Liability Tort                                              Post-Judgment – Check One Case Type
        ‫܆‬           Real Property                                                       ‫܆‬   Contempt
        ‫܆‬           Restraining Petition                                                  ‫ ܆‬Non-payment of child support,
        ‫܆‬           Other General Civil                                                      medical support, or alimony
                                                                                        ‫܆‬   Modification
                                                                                        ‫܆‬   Other/Administrative

‫܆‬       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.
        ____________________________________________            ____________________________________________
                     Case Number                                              Case Number

‫܆‬
■
        I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

‫܆‬       Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                  Language(s) Required

‫܆‬       Do you or your client need any disability accommodations? If so, please describe the accommodation request.
        _________________________________________________________________________________________________________________________
        _________________________________________________________________________________________________________________________
                                                                                                                                           Version 1.1.18
                                                                                                            State Court of Fulton County
         Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 15 of 79                                                     **E-FILED**

                                                     Exhibit "B"                                                             21EV006116
                                                                                                                     10/22/2021 2:14 PM
                                                                                                             Christopher G. Scott, Clerk
                                                                                                                            Civil Division
                                               AFFIDAVIT OF SERVICE


State of Georgia                                     County of FULTON                                                State Court

Case Number: 21EV006116

Plaintiff:
MELISSA BARTOLOMEI, as Surviving Child of THERESA JARBOE-
BARTOLOMEI, deceased; and MELISSA BARTOLOMEI, as Administrator of
the Estate of THERESA JARBOE-BARTOLOMEI, deceased,
VS.

Defendant:
RETIREE HOUSING OF ATLANTA, INC. f/ida TEAMSTER RETIREE HOUSING
OF ATLANTA, INC.; RETIREE HOUSING MANAGEMENT, INC.; JOHN DOES
1-2; and XYZ CORPORATIONS 1-3,

For:
Brandyn Randall
MORGAN & MORGAN, ATLANTA PLLC
P. 0. BOX 57007
ATLANTA, GA 30343

Received by Discrete Professional Services L. L. C. on the 14th day of October, 2021 at 1:13 pm to be served on
RETIREE HOUSING MANAGEMENT INC. c/o REGISTERED AGENT: CT CORPORATION SYSTEM, 289 S
CULVER ST, LAWRENCEVILLE, GA 30046.

I , MUHSIN S. HASSAN, being duly sworn, depose and say that on the 15th day of October, 2021 at 8:55 am, I:

served a REGISTERED AGENT by delivering a true copy of the SUMMONS and COMPLAINT AND DEMAND FOR
TRIAL BY JURY and PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT RETIREE HOUSING
OF ATLANTA, INC. and PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT RETIREE
HOUSING MANAGEMENT, INC. and PLAINTIFF'S FIRST INTERROGATORIES TO DEFENDANTS and
PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS and PLAINTIFF'S 30(b)
(6) DEPOSITION NOTICE OF DEFENDANT RETIREE HOUSING OF ATLANTA, INC. and PLAINTIFF'S 30(b)(6)
DEPOSITION NOTICE OF DEFENDANT RETIREE HOUSING MANAGEMENT, INC. and RULE 5.2 CERTIFICATE
OF SERVICE OF DISCOVERY MATERIALS and GENERAL CIVIL and DOMESTIC RELATIONS CASE FILING
INFORMATION FORM and LETTER FROM ATTORNEY to: Jane Richardson for The REGISTERED AGENT, at
the address of: 289 S CULVER ST, LAWRENCEVILLE, GA 30046 on behalf of RETIREE HOUSING
MANAGEMENT INC., and informed said person of the contents therein, in compliance with state statutes.


I am over the age of 18, of sound mind and neither a party to nor interested in the above suit. I have personal
knowledge of the facts stated above. I have never been convicted of a felony or misdemeanor involving moral
turpitude in any state or federal jurisdiction.




                                                                           MUHSIN S. HASSAN
Subscjibed and Sworn to before me on this
      iloru day of Ør        &      , 20,1 , by the                        Discrete Professional Services L. L. C.
affiant who is personally known to me or has show                          P.O. Box 451081
acceptable identification.                                                 Atlanta, GA 31145
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                                                                           (470) 454-3107
NOTARY PUBLI                              <0C" 0.     e.               %ur Job Serial Number: DIS-2021001062
                                                       -/- •                    BARTOLOMEI V. RETIREE HOUSING, et.al.
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                                                                                                                       State Court of Fulton County
         Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 16 of 79                                                                **E-FILED**
                                                                                                                                        21EV006116
                                                                                                                                10/22/2021 2:16 PM
                                                                                                                        Christopher G. Scott, Clerk
                                                                                                                                       Civil Division
                                                 AFFIDAVIT OF SERVICE

State of Georgia                                          County of FULTON                                                   State Court

Case Number: 21EV006116

Plaintiff:
MELISSA BARTOLOMEI, as Surviving Child of THERESA JARBOE-
BARTOLOMEI, deceased; and MELISSA BARTOLOMEI, as Administrator of
the Estate of THERESA JARBOE-BARTOLOMEI, deceased,
vs.
Defendant:
RETIREE HOUSING OF ATLANTA, INC. f/k/a TEAMSTER RETIREE HOUSING
OF ATLANTA, INC.; RETIREE HOUSING MANAGEMENT, INC.; JOHN DOES
1-2; and XYZ CORPORATIONS 1-3,

For:
Brandyn Randall
MORGAN & MORGAN, ATLANTA PLLC
P. 0. BOX 57007
ATLANTA, GA 30343

Received by Discrete Professional Services L. L. C. on the 14th day of October, 2021 at 1:13 pm to be served on
RETIREE HOUSING OF ATLANTA, INC do REGISTERED AGENT: CT CORPORATION SYSTEM, 289 S
CULVER ST, LAWRENCEVILLE, GA 30046.

I , MUHSIN S. HASSAN, being duly sworn, depose and say that on the 15th day of October, 2021 at 8:55 am, I:

served a REGISTERED AGENT by delivering a true copy of the SUMMONS and COMPLAINT AND DEMAND FOR
TRIAL BY JURY and PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT RETIREE HOUSING
OF ATLANTA, INC. and PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT RETIREE
HOUSING MANAGEMENT, INC. and PLAINTIFF'S FIRST INTERROGATORIES TO DEFENDANTS and
PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS and PLAINTIFF'S 30(b)
(6) DEPOSITION NOTICE OF DEFENDANT RETIREE HOUSING OF ATLANTA, INC. and PLAINTIFF'S 30(b)(6)
DEPOSITION NOTICE OF DEFENDANT RETIREE HOUSING MANAGEMENT, INC. and RULE 5.2 CERTIFICATE
OF SERVICE OF DISCOVERY MATERIALS and GENERAL CIVIL and DOMESTIC RELATIONS CASE FILING
INFORMATION FORM and LETTER FROM ATTORNEY to: Jane Richardson for The REGISTERED AGENT, at
the address of: 289 S CULVER ST, LAWRENCEVILLE, GA 30046 on behalf of RETIREE HOUSING OF ATLANTA,
INC, and informed said person of the contents therein, in compliance with state statutes.


I am over the age of 18, of sound mind and neither a party to nor interested in the above suit. I have personal
knowledge of the facts stated above. I have never been convicted of a felony or misdemeanor involving moral
turpitude in any state or federal jurisdiction.




                                                                              7744-4;- A I
                                                                MUHSIN S. HASSAN
Subscribedand Swwn to before me on thi
          ( day of s ..--706/..4._  , 20     , by the           Discrete Professional Services L. L. C.
affiant who is personally known to me or has show
                                               0011119/1,, P.O. Box 451081
acceptable identification.                  N‘O e,s -T I NE "i#ddlanta, GA 31145
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                                                                 .   ...         V. RETIREE HOUSING, et.al.

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                                                                  State Court of Fulton County
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 17 of 79              **E-FILED**

                                    Exhibit "C"
                                                                                   21EV006116
                                                                           11/10/2021 3:55 PM
                                                                   Christopher G. Scott, Clerk
                                                                                  Civil Division
               IN THE STATE COURT OF FULTON COUNTY
                         STATE OF GEORGIA

MELISSA BARTOLOMEI, as Surviving Child )
of THERESA JARBOE-BARTOLOMEI, deceased;)
                                       )
and MELISSA BARTOLOMEI, as Administrator
                                       )
of the Estate of THERESA JARBOE-       )
BARTOLOMEI, deceased,                  )
                                       )
                                       )
           Plaintiff,                  )
                                       )                    Civil Action
v.                                     )
                                       )               File No.: 21EV006116
                                       )
RETIREE HOUSING OF ATLANTA, INC. f/k/a )
TEAMSTER RETIREE HOUSING OF ATLANTA, )
INC.; RETIREE HOUSING MANAGEMENT,      )
INC., JOHN DOES 1-2; and               )
                                       )
XYZ CORPORATIONS 1-3,                  )
                                       )
           Defendants.                 )

         DEFENDANT RETIREE HOUSING OF ATLANTA, INC.’S
              ANSWER TO PLAINTIFF’S COMPLAINT

      COMES NOW, Defendant Retiree Housing of Atlanta, Inc., and responds to

Plaintiff’s Complaint as follows:

                                FIRST DEFENSE

      Plaintiff’s Complaint fails to state a claim or cause of action upon which

relief can be granted against this Defendant.

                               SECOND DEFENSE

      Defendants, through their agents and employees, exercised that degree of

skill and care required of them under Georgia law.
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 18 of 79




                                THIRD DEFENSE

      Defendants breached no duty owed to Plaintiffs, or Plaintiffs’ decedent.

                              FOURTH DEFENSE

      The injuries suffered by Plaintiff’s decedent and the damages alleged by the

Plaintiff were not proximately caused by any negligent act or omission on the part

of Defendants.

                                FIFTH DEFENSE

      Plaintiff’s decedent failed to exercise ordinary care for her own safety.

                                SIXTH DEFENSE

      Plaintiff’s decedent, through the exercise of ordinary care, could have

avoided Plaintiff’s alleged damages.

                              SEVENTH DEFENSE

      Plaintiff’s decedent had equal knowledge of any alleged hazard or danger.

                                EIGHT DEFENSE

      Plaintiff’s claims are barred by the doctrine of assumption of the risk.

                                NINTH DEFENSE

      Plaintiff’s decedent failed to mitigate her injuries and damages.

                               TENTH DEFENSE

      The damages and injuries alleged by Plaintiff were caused by a third-party,

not the named Defendants.



                                         -2-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 19 of 79




                             ELEVENTH DEFENSE

      Without waiving any of the above enumerated defenses, this Defendant

answers the numbered paragraphs of Plaintiff’s Complaint as follows:

                  PARTIES AND JURISDICTION & VENUE

                                         1.

      This Defendant lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 1 of Plaintiff’s Complaint,

and therefore, this Defendant can neither admit nor deny said allegations.

                                         2.

      This Defendant lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 2 of Plaintiff’s Complaint,

and therefore, this Defendant can neither admit nor deny said allegations.

                                         3.

      Responding to the first sentence of Paragraph 3 of Plaintiff’s Complaint, this

Defendant admits that it is a foreign corporation authorized to do business in

Georgia, but denies the remaining allegations contained therein. This Defendant

admits the allegations contained in the second sentence of Paragraph 3 of

Plaintiff’s Complaint.




                                        -3-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 20 of 79




                                        4.

      Responding to the first sentence of Paragraph 4 of Plaintiff’s Complaint, this

Defendant admits that Defendant Retiree Housing Management, Inc. is a foreign

corporation authorized to do business in Georgia, but denies the remaining

allegations contained therein. This Defendant admits the allegations contained in

the second sentence of Paragraph 4 of Plaintiff’s Complaint.

                                        5.

      This Defendant denies the allegations contained in Paragraph 5 of Plaintiff’s

Complaint.

                                        6.

      This Defendant denies the allegations contained in Paragraph 6 of Plaintiff’s

Complaint.

                                        7.

      This Defendant denies the allegations contained in Paragraph 7 of Plaintiff’s

Complaint.

                                        8.

      This Defendant denies the allegations contained in Paragraph 8 of Plaintiff’s

Complaint.




                                        -4-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 21 of 79




                            STATEMENT OF FACTS

                                         9.

      This Defendant admits the allegations contained in Paragraph 9 of Plaintiff’s

Complaint.

                                         10.

      This Defendant admits that the decedent fell on the date of the incident, but

denies the remaining allegations contained in Paragraph 10 of Plaintiff’s

Complaint.

                                         11.

      This Defendant denies the allegations contained in Paragraph 11 of

Plaintiff’s Complaint.

                                         12.

      This Defendant admits the allegations contained in Paragraph 12 of

Plaintiff’s Complaint.

                            ACTIVE NEGLIGENCE

                                         13.

      Responding to Paragraph 13 of the Complaint, this Defendant incorporates

herein its responses to Paragraphs 1 through 12 above as if fully restated.




                                         -5-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 22 of 79




                                       14.

      This Defendant denies the allegations contained in Paragraph 14 of

Plaintiff’s Complaint.

                                       15.

      This Defendant admits it implemented safety procedures, but denies the

remaining allegations contained in Paragraph 15 of Plaintiff’s Complaint.

                                       16.

      This Defendant admits that Defendants owed those duties required by law,

but denies the remaining allegations contained in Paragraph 16 of Plaintiff’s

Complaint.

                                       17.

      This Defendant admits that Defendants owed those duties required by law,

but denies the remaining allegations contained in Paragraph 17 of Plaintiff’s

Complaint.

                                       18.

      This Defendant denies the allegations contained in Paragraph 18 of

Plaintiff’s Complaint.

                                       19.

      This Defendant denies the allegations contained in Paragraph 19 of

Plaintiff’s Complaint.



                                        -6-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 23 of 79




                                         20.

      This Defendant denies the allegations contained in Paragraph 20 of

Plaintiff’s Complaint.

                                         21.

      This Defendant denies the allegations contained in Paragraph 21 of

Plaintiff’s Complaint.

                                         22.

      This Defendant denies the allegations contained in Paragraph 22 of

Plaintiff’s Complaint.

                             PREMISES LIABILITY

                                         23.

      Responding to Paragraph 23 of the Complaint, this Defendant incorporates

herein its responses to Paragraphs 1 through 22 above as if fully restated.

                                         24.

      This Defendant admits the allegations contained in Paragraph 24 of

Plaintiff’s Complaint.

                                         25.

      This Defendant admits that Defendants owed those duties required by law,

but denies the remaining allegations contained in Paragraph 25 of Plaintiff’s

Complaint.



                                         -7-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 24 of 79




                                        26.

      This Defendant admits that Defendants owed those duties required by law,

but denies the remaining allegations contained in Paragraph 26 of Plaintiff’s

Complaint.

                                        27.

      This Defendant admits the allegations contained in Paragraph 27 of

Plaintiff’s Complaint.

                                        28.

      This Defendant lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 28 of Plaintiff’s Complaint,

and therefore, this Defendant can neither admit nor deny said allegations.

                                        29.

      This Defendant denies the allegations contained in Paragraph 29 of

Plaintiff’s Complaint.

                                        30.

      This Defendant denies the allegations contained in Paragraph 30 of

Plaintiff’s Complaint.

                                        31.

      This Defendant denies the allegations contained in Paragraph 31 of

Plaintiff’s Complaint.



                                        -8-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 25 of 79




                                         32.

      This Defendant denies the allegations contained in Paragraph 32 of

Plaintiff’s Complaint.

                                         33.

      This Defendant denies the allegations contained in Paragraph 33 of

Plaintiff’s Complaint.

                                         34.

      This Defendant denies the allegations contained in Paragraph 34 of

Plaintiff’s Complaint.

                              WRONGFUL DEATH

                                         35.

      Responding to Paragraph 35 of the Complaint, this Defendant incorporates

herein its responses to Paragraphs 1 through 34 above as if fully restated.

                                         36.

      This Defendant denies the allegations contained in Paragraph 36 of

Plaintiff’s Complaint.

                                         37.

      This Defendant denies the allegations contained in Paragraph 37 of

Plaintiff’s Complaint.




                                         -9-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 26 of 79




                           ESTATE’S TORT CLAIMS

                                         38.

      Responding to Paragraph 38 of the Complaint, this Defendant incorporates

herein its responses to Paragraphs 1 through 37 above as if fully restated.

                                         39.

      This Defendant lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 39 of Plaintiff’s Complaint,

and therefore, this Defendant can neither admit nor deny said allegations.

                                         40.

      This Defendant denies the allegations contained in Paragraph 40 of

Plaintiff’s Complaint.

                                         41.

      This Defendant denies the allegations contained in Paragraph 41 of

Plaintiff’s Complaint.

                                         42.

      This Defendant denies the allegations contained in Paragraph 42 of

Plaintiff’s Complaint.




                                        -10-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 27 of 79




                                        43.

      Responding to the last unnumbered Paragraph of Plaintiff’s Complaint, and

all subparagraphs contained therein, this Defendant denies that Plaintiff is entitled

to any recovery against this Defendant in any form, fashion or amount whatsoever.

                                        44.

      Any allegations in Plaintiff’s Complaint not specifically responded to above,

are hereby denied.

      WHEREFORE, having fully responded to Plaintiff’s Complaint, Defendant

Retiree Housing of Atlanta, Inc. demands that same be dismissed with costs

assessed against the Plaintiff.

       This 10th day of November, 2021.


                                         COPELAND, STAIR,
                                           KINGMA & LOVELL, LLP


                                         By: /s/ Jay M. O’Brien
                                            JAY M. O’BRIEN
                                            State Bar No.: 234606
                                            Counsel for Defendants

191 Peachtree Tower, Suite 3600
191 Peachtree Street NE
Atlanta, Georgia 30303-1740
Phone: 404-522-8220
jobrien@cskl.law




                                        -11-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 28 of 79




                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and

foregoing DEFENDANT RETIREE HOUSING OF ATLANTA, INC.’S

ANSWER TO PLAINTIFF’S COMPLAINT upon all parties to this matter via

electronic filing and service to counsel of record as follows:

                              Brandyn L. Randall
                       MORGAN & MORGAN ATLANTA, PLLC
                                P.O. Box 57007
                           Atlanta, TGA 30343-1007
                          brandall@forthepeople.com
                             Counsel for Plaintiff

      This 10th day of November, 2021.

                                          COPELAND, STAIR,
                                            KINGMA & LOVELL, LLP


                                          By: /s/ Jay M. O’Brien
                                             JAY M. O’BRIEN
                                             State Bar No.: 234606
                                             Counsel for Defendants

191 Peachtree Tower, Suite 3600
191 Peachtree Street NE
Atlanta, Georgia 30303-1740
Phone: 404-522-8220
jobrien@cskl.law




                                         -12-
                                                                  State Court of Fulton County
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 29 of 79              **E-FILED**
                                                                                   21EV006116
                                 Exhibit "D"                               11/10/2021 3:55 PM
                                                                   Christopher G. Scott, Clerk
                                                                                  Civil Division
               IN THE STATE COURT OF FULTON COUNTY
                         STATE OF GEORGIA

MELISSA BARTOLOMEI, as Surviving Child )
of THERESA JARBOE-BARTOLOMEI, deceased;)
                                       )
and MELISSA BARTOLOMEI, as Administrator
                                       )
of the Estate of THERESA JARBOE-       )
BARTOLOMEI, deceased,                  )
                                       )
                                       )
           Plaintiff,                  )
                                       )                    Civil Action
v.                                     )
                                       )               File No.: 21EV006116
                                       )
RETIREE HOUSING OF ATLANTA, INC. f/k/a )
TEAMSTER RETIREE HOUSING OF ATLANTA, )
INC.; RETIREE HOUSING MANAGEMENT,      )
INC., JOHN DOES 1-2; and               )
XYZ CORPORATIONS 1-3,

             Defendants.

       DEFENDANTS RETIREE HOUSING MANAGEMENT, INC.S’
             ANSWER TO PLAINTIFF’S COMPLAINT

      COMES NOW, Defendant Retiree Housing Management, Inc., and responds

to Plaintiff’s Complaint as follows:

                                FIRST DEFENSE

      Plaintiff’s Complaint fails to state a claim or cause of action upon which

relief can be granted against this Defendant.

                               SECOND DEFENSE

      Defendants, through their agents and employees, exercised that degree of

skill and care required of them under Georgia law.
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 30 of 79




                                THIRD DEFENSE

      Defendants breached no duty owed to Plaintiffs, or Plaintiffs’ decedent.

                              FOURTH DEFENSE

      The injuries suffered by Plaintiff’s decedent and the damages alleged by the

Plaintiff were not proximately caused by any negligent act or omission on the part

of Defendants.

                                FIFTH DEFENSE

      Plaintiff’s decedent failed to exercise ordinary care for her own safety.

                                SIXTH DEFENSE

      Plaintiff’s decedent, through the exercise of ordinary care, could have

avoided Plaintiff’s alleged damages.

                              SEVENTH DEFENSE

      Plaintiff’s decedent had equal knowledge of any alleged hazard or danger.

                                EIGHT DEFENSE

      Plaintiff’s claims are barred by the doctrine of assumption of the risk.

                                NINTH DEFENSE

      Plaintiff’s decedent failed to mitigate her injuries and damages.

                               TENTH DEFENSE

      The damages and injuries alleged by Plaintiff were caused by a third-party,

not the named Defendants.



                                         -2-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 31 of 79




                             ELEVENTH DEFENSE

      Without waiving any of the above enumerated defenses, this Defendant

answers the numbered paragraphs of Plaintiff’s Complaint as follows:

                  PARTIES AND JURISDICTION & VENUE

                                         1.

      This Defendant lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 1 of Plaintiff’s Complaint,

and therefore, this Defendant can neither admit nor deny said allegations.

                                         2.

      This Defendant lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 2 of Plaintiff’s Complaint,

and therefore, this Defendant can neither admit nor deny said allegations.

                                         3.

      Responding to the first sentence of Paragraph 3 of Plaintiff’s Complaint, this

Defendant admits that Defendant Retiree Housing of Atlanta, Inc. is a foreign

corporation authorized to do business in Georgia, but denies the remaining

allegations contained therein. This Defendant admits the allegations contained in

the second sentence of Paragraph 3 of Plaintiff’s Complaint.




                                        -3-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 32 of 79




                                        4.

      Responding to the first sentence of Paragraph 4 of Plaintiff’s Complaint, this

Defendant admits that it is a foreign corporation authorized to do business in

Georgia, but denies the remaining allegations contained therein. This Defendant

admits the allegations contained in the second sentence of Paragraph 4 of

Plaintiff’s Complaint.

                                        5.

      This Defendant denies the allegations contained in Paragraph 5 of Plaintiff’s

Complaint.

                                        6.

      This Defendant denies the allegations contained in Paragraph 6 of Plaintiff’s

Complaint.

                                        7.

      This Defendant denies the allegations contained in Paragraph 7 of Plaintiff’s

Complaint.

                                        8.

      This Defendant denies the allegations contained in Paragraph 8 of Plaintiff’s

Complaint.




                                        -4-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 33 of 79




                            STATEMENT OF FACTS

                                         9.

      This Defendant admits the allegations contained in Paragraph 9 of Plaintiff’s

Complaint.

                                         10.

      This Defendant admits that the decedent fell on the date of the incident, but

denies the remaining allegations contained in Paragraph 10 of Plaintiff’s

Complaint.

                                         11.

      This Defendant denies the allegations contained in Paragraph 11 of

Plaintiff’s Complaint.

                                         12.

      This Defendant admits the allegations contained in Paragraph 12 of

Plaintiff’s Complaint.

                            ACTIVE NEGLIGENCE

                                         13.

      Responding to Paragraph 13 of the Complaint, this Defendant incorporates

herein its responses to Paragraphs 1 through 12 above as if fully restated.




                                         -5-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 34 of 79




                                       14.

      This Defendant denies the allegations contained in Paragraph 14 of

Plaintiff’s Complaint.

                                       15.

      This Defendant admits it implemented safety procedures, but denies the

remaining allegations contained in Paragraph 15 of Plaintiff’s Complaint.

                                       16.

      This Defendant admits that Defendants owed those duties required by law,

but denies the remaining allegations contained in Paragraph 16 of Plaintiff’s

Complaint.

                                       17.

      This Defendant admits that Defendants owed those duties required by law,

but denies the remaining allegations contained in Paragraph 17 of Plaintiff’s

Complaint.

                                       18.

      This Defendant denies the allegations contained in Paragraph 18 of

Plaintiff’s Complaint.

                                       19.

      This Defendant denies the allegations contained in Paragraph 19 of

Plaintiff’s Complaint.



                                        -6-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 35 of 79




                                         20.

      This Defendant denies the allegations contained in Paragraph 20 of

Plaintiff’s Complaint.

                                         21.

      This Defendant denies the allegations contained in Paragraph 21 of

Plaintiff’s Complaint.

                                         22.

      This Defendant denies the allegations contained in Paragraph 22 of

Plaintiff’s Complaint.

                             PREMISES LIABILITY

                                         23.

      Responding to Paragraph 23 of the Complaint, this Defendant incorporates

herein its responses to Paragraphs 1 through 22 above as if fully restated.

                                         24.

      This Defendant admits the allegations contained in Paragraph 24 of

Plaintiff’s Complaint.

                                         25.

      This Defendant admits that Defendants owed those duties required by law,

but denies the remaining allegations contained in Paragraph 25 of Plaintiff’s

Complaint.



                                         -7-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 36 of 79




                                        26.

      This Defendant admits that Defendants owed those duties required by law,

but denies the remaining allegations contained in Paragraph 26 of Plaintiff’s

Complaint.

                                        27.

      This Defendant admits the allegations contained in Paragraph 27 of

Plaintiff’s Complaint.

                                        28.

      This Defendant lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 28 of Plaintiff’s Complaint,

and therefore, this Defendant can neither admit nor deny said allegations.

                                        29.

      This Defendant denies the allegations contained in Paragraph 29 of

Plaintiff’s Complaint.

                                        30.

      This Defendant denies the allegations contained in Paragraph 30 of

Plaintiff’s Complaint.

                                        31.

      This Defendant denies the allegations contained in Paragraph 31 of

Plaintiff’s Complaint.



                                        -8-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 37 of 79




                                         32.

      This Defendant denies the allegations contained in Paragraph 32 of

Plaintiff’s Complaint.

                                         33.

      This Defendant denies the allegations contained in Paragraph 33 of

Plaintiff’s Complaint.

                                         34.

      This Defendant denies the allegations contained in Paragraph 34 of

Plaintiff’s Complaint.

                              WRONGFUL DEATH

                                         35.

      Responding to Paragraph 35 of the Complaint, this Defendant incorporates

herein its responses to Paragraphs 1 through 34 above as if fully restated.

                                         36.

      This Defendant denies the allegations contained in Paragraph 36 of

Plaintiff’s Complaint.

                                         37.

      This Defendant denies the allegations contained in Paragraph 37 of

Plaintiff’s Complaint.




                                         -9-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 38 of 79




                           ESTATE’S TORT CLAIMS

                                         38.

      Responding to Paragraph 38 of the Complaint, this Defendant incorporates

herein its responses to Paragraphs 1 through 37 above as if fully restated.

                                         39.

      This Defendant lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 39 of Plaintiff’s Complaint,

and therefore, this Defendant can neither admit nor deny said allegations.

                                         40.

      This Defendant denies the allegations contained in Paragraph 40 of

Plaintiff’s Complaint.

                                         41.

      This Defendant denies the allegations contained in Paragraph 41 of

Plaintiff’s Complaint.

                                         42.

      This Defendant denies the allegations contained in Paragraph 42 of

Plaintiff’s Complaint.




                                        -10-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 39 of 79




                                        43.

      Responding to the last unnumbered Paragraph of Plaintiff’s Complaint, and

all subparagraphs contained therein, this Defendant denies that Plaintiff is entitled

to any recovery against this Defendant in any form, fashion or amount whatsoever.

                                        44.

      Any allegations in Plaintiff’s Complaint not specifically responded to above,

are hereby denied.

      WHEREFORE, having fully responded to Plaintiff’s Complaint, Defendant

Retiree Housing Management, Inc. demands that same be dismissed with costs

assessed against the Plaintiff.

       This 10th day of November, 2021.

                                         COPELAND, STAIR,
                                           KINGMA & LOVELL, LLP


                                         By: /s/ Jay M. O’Brien
                                            JAY M. O’BRIEN
                                            State Bar No.: 234606
                                            Counsel for Defendants

191 Peachtree Tower, Suite 3600
191 Peachtree Street NE
Atlanta, Georgia 30303-1740
Phone: 404-522-8220
jobrien@cskl.law




                                        -11-
      Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 40 of 79




                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and

foregoing DEFENDANT RETIREE HOUSING MANAGEMENT, INC.’S

ANSWER TO PLAINTIFF’S COMPLAINT upon all parties to this matter via

electronic filing and service to counsel of record as follows:

                              Brandyn L. Randall
                       MORGAN & MORGAN ATLANTA, PLLC
                               P.O. Box 57007
                           Atlanta, GA 30343-1007
                          brandall@forthepeople.com
                             Counsel for Plaintiff

      This 10th day of November, 2021.

                                          COPELAND, STAIR,
                                            KINGMA & LOVELL, LLP


                                          By: /s/ Jay M. O’Brien
                                             JAY M. O’BRIEN
                                             State Bar No.: 234606
                                             Counsel for Defendants

191 Peachtree Tower, Suite 3600
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jobrien@cskl.law




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                                                                      State Court of Fulton County
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                                                                                       21EV006116

                                   Exhibit "E"                                 11/10/2021 3:55 PM
                                                                       Christopher G. Scott, Clerk
                                                                                      Civil Division
              IN THE STATE COURT OF FULTON COUNTY
                        STATE OF GEORGIA

MELISSA BARTOLOMEI, as Surviving Child )
of THERESA JARBOE-BARTOLOMEI, deceased;)
                                       )
and MELISSA BARTOLOMEI, as Administrator
                                       )
of the Estate of THERESA JARBOE-       )
BARTOLOMEI, deceased,                  )
                                       )
                                       )
           Plaintiff,                  )
                                       )                      Civil Action
v.                                     )
                                       )                 File No.: 21EV006116
                                       )
RETIREE HOUSING OF ATLANTA, INC. f/k/a )
TEAMSTER RETIREE HOUSING OF ATLANTA, )
INC.; RETIREE HOUSING MANAGEMENT,      )
INC., JOHN DOES 1-2; and               )
                                       )
XYZ CORPORATIONS 1-3,                  )
                                       )
           Defendants.                 )

                       DEFENDANTS’ JURY DEMAND

      COMES NOW, Defendants in the above-styled civil action, and within the

time permitted by law hereby demands a jury of twelve on all issues of fact.

      This 10th day of November, 2021.

                                         COPELAND, STAIR,
                                           KINGMA & LOVELL, LLP

                                         By: /s/ Jay M. O’Brien
                                            JAY M. O’BRIEN
                                            State Bar No.: 234606
                                            Counsel for Defendants
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191 Peachtree Street NE
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jobrien@cskl.law
         Case 1:21-cv-04682-SDG Document 1-1 Filed 11/12/21 Page 42 of 79




                          CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of the within and

foregoing DEFENDANTS’ JURY DEMAND upon all parties to this matter via

electronic filing and service to counsel of record as follows:

                              Brandyn L. Randall
                       MORGAN & MORGAN ATLANTA, PLLC
                                P.O. Box 57007
                           Atlanta, TGA 30343-1007
                          brandall@forthepeople.com
                             Counsel for Plaintiff

         This 10th day of November, 2021.

                                          COPELAND, STAIR,
                                            KINGMA & LOVELL, LLP


                                          By: /s/ Jay M. O’Brien
                                             JAY M. O’BRIEN
                                             State Bar No.: 234606
                                             Counsel for Defendants

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                                                                                 State Court of Fulton County
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                                                                                                  21EV006116
                                         Exhibit "F"                                     10/11/2021 11:36 AM
                                                                                  Christopher G. Scott, Clerk
                                                                                                 Civil Division
                     IN THE STATE COURT OF FULTON COUNTY
                               STATE OF GEORGIA

 MELISSA BARTOLOMEI, as Surviving Child                  )
 of THERESA JARBOE-BARTOLOMEI,                           )
 deceased; and MELISSA BARTOLOMEI,                       )
 as Administrator of the Estate of                       )
 THERESA JARBOE-BARTOLOMEI,                              )
 deceased,                                               )
                                                         )
                 Plaintiff,                              )   CIVIL ACTION FILE NO.:
                                                         )
 vs.                                                     )
                                                         )
 RETIREE HOUSING OF ATLANTA, INC.                        )
 f/k/a TEAMSTER RETIREE HOUSING OF                       )
 ATLANTA, INC.; RETIREE HOUSING                          )
 MANAGEMENT, INC.; JOHN DOES 1 – 2;                      )
 and XYZ CORPORATIONS 1 – 3,                             )
                                                         )
               Defendants.                               )


       RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS

       Plaintiff hereby certifies that a true and correct copy of the following was delivered for

service with the Summons and Complaint:

   1. Plaintiff’s First Request for Admissions to Defendant Retiree Housing of Atlanta, Inc.;
   2. Plaintiff’s First Request for Admissions to Defendant Retiree Housing Management, Inc.;
   3. Plaintiff’s First Interrogatories to Defendants;
   4. Plaintiff’s First Request for Production of Documents to Defendants;
   5. Plaintiff’s 30(b)(6) Deposition Notice of Defendant Retiree Housing of Atlanta, Inc..; and
   6. Plaintiff’s 30(b)(6) Deposition Notice of Defendant Retiree Housing Management, Inc..




                                 (Signature on Following Page)




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This 11th day of October, 2021.

                                      MORGAN & MORGAN ATLANTA, PLLC


                                      /s/ Brandyn L. Randall
                                      BRANDYN L. RANDALL
                                      BRandall@ForThePeople.com
                                      Georgia State Bar No.: 627408
                                      Post Office Box 57007
                                      Atlanta, GA 30343-1007
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                                      404-965-8812 (Fax)
                                      Attorney for Plaintiff




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